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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:18-CR-3087

vs.
                                             MEMORANDUM AND ORDER
TRAVIS LEVI HIZAR,

                  Defendant.

      This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on a Guilty Plea (filing 39) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts the
findings and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation on a Guilty
           Plea are adopted.
      2.   The defendant is found guilty. The plea is accepted. The Court
           finds that the plea of guilty is knowing, intelligent, and voluntary,
           and that a factual basis exists for the plea.
      3.   This case shall proceed to sentencing.

      Dated this 16th day of November, 2018.

                                          BY THE COURT:


                                          John M. Gerrard
                                          Chief United States District Judge
